      Case 6:19-cv-00869-LSC-HNJ Document 18 Filed 12/07/21 Page 1 of 2                     FILED
                                                                                   2021 Dec-07 AM 10:34
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                          JASPER DIVISION

 ALVIN ROY MUSE,                           )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        )    Case No. 6:19-cv-00869-LSC-HNJ
                                           )
 WALKER COUNTY JAIL, et al.,               )
                                           )
       Defendants.                         )

                           MEMORANDUM OPINION
      The magistrate judge entered a report on November 4, 2021, recommending

this action be dismissed without prejudice for failing to state a claim upon which

relief can be granted, pursuant to 28 U.S.C. § 1915A(b). (Doc. 17). Although the

magistrate judge advised the plaintiff of his right to file specific written objections

within 14 days, no objections have been received by the court.

      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the magistrate judge’s report is

hereby ADOPTED and the recommendation is ACCEPTED.                      Therefore, in

accordance with 28 U.S.C. § 1915A(b), this action is due to be dismissed without

prejudice for failing to state a claim upon which relief can be granted.

      A Final Judgment will be entered.
Case 6:19-cv-00869-LSC-HNJ Document 18 Filed 12/07/21 Page 2 of 2




DONE and ORDERED on December 7, 2021.



                                    _____________________________
                                            L. Scott Coogler
                                       United States District Judge
                                                                      160704




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